           Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 CABLE NEWS NETWORK, INC.,
                                                         Civil Action No. 1:17-cv-01167-JEB
          Plaintiff,

 v.

 FEDERAL BUREAU OF INVESTIGATION,

          Defendant.



       MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION TO ENFORCE
      THE COURT’S ORDER OF JUNE 7, 2019, AND IN SUPPORT OF DEFENDANT’S
                  MOTION, IN THE ALTERNATIVE, FOR A STAY

                                         INTRODUCTION

         Plaintiff Cable News Network’s (“CNN’s”) Motion to Enforce the Court’s Order of June

7, 2019, in this Freedom of Information Act (“FOIA”) should be denied. CNN is not seeking to

enforce the Order as written but rather to add an additional term to it in the form of an immediate

deadline for production. The addition of an immediate deadline is not warranted and would be

prejudicial to defendant Federal Bureau of Investigation (“FBI”) because requiring the FBI to

make production now would undisputedly moot its opportunity to appeal. If CNN’s arguments

were correct, the government would have to seek an emergency stay of every adverse FOIA

decision in order to protect its right to determine whether to appeal. Should the Court, however,

agree with CNN that an immediate deadline is warranted, requiring the FBI to produce the

documents immediately, the FBI respectfully moves for a stay pending the FBI’s consideration

of whether to seek appellate review and, should appeal be authorized, pending appeal. The FBI

satisfies all the elements required for issuance of a stay.
          Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 2 of 8



        If, however, the Court grants CNN’s motion to enforce and denies the FBI’s motion for a

stay pending appeal, the FBI respectfully requests that it be given a 14-day administrative stay in

order to allow the FBI the opportunity to seek appropriate relief from the Court of Appeals.

                                         BACKGROUND

        On June 7, 2019, the Court issued a decision on the parties’ cross-motions for summary

judgment, granting and denying each motion in part. See Mem. Op., ECF No. 86. Of relevance

here, the Court denied the FBI’s claims for withholding the redactions labeled 1-5, 7, 22, and 23

in the Comey Memos, and the remaining redactions in the First Archey Declaration. The Court

did not set a deadline for disclosure of this material. See ECF No. 85.

        Subsequently, the FBI filed a timely motion to amend the Court’s decision pursuant to

Federal Rule of Civil Procedure 59(e) (ECF No. 87). The Court denied that motion on August

12, 2019 (ECF No. 95), which started the sixty-day deadline for the parties to file a notice of

appeal. See Fed. R. App. P. 4(a)(1)(B), (a)(4)(A)(iv). The Court’s decision denying the motion

also did not set a production deadline. See also August 12, 2019, Order (ECF No. 94).

        Two days later, on August 14, 2019, CNN filed a motion (ECF No. 96) seeking

immediate production of the redacted material that the Court directed be disclosed, which it

styles as a motion to “enforce” the Court’s order.

                                           ARGUMENT

   I.      THE COURT SHOULD DENY PLAINTIFF’S MOTION TO ENFORCE

        The Court’s Order (ECF No. 85) requiring disclosure of certain redacted material did not

set a deadline for production of this material. In effect, therefore, CNN is not seeking to enforce

the Order as written but rather to add additional terms to it, specifically, to add a deadline for

production. This request should be denied, as there is no reason to add a deadline, and an
                                                  2
           Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 3 of 8



immediate deadline would prejudice defendant FBI. The government is still considering whether

to appeal—a decision that is made by the Solicitor General—and its notice of appeal is not due

until October 11, 2019. See Fed. R. Civ. P. 4(a)(1)(B), (a)(4)(A)(iv). Requiring the FBI to make

production during this period of time would moot the FBI’s ability to appeal. See Ctr. for Nat’l

Sec. Studies v. U.S. Dep’t of Justice, 217 F. Supp. 2d 58, 58 (D.D.C. 2002), (explaining that, in

FOIA cases, “disclosure … would effectively moot any appeal”).

         This Court could have imposed a specific deadline for disclosure and, if that deadline

were sooner than the time for taking an appeal, the government would have had to seek a stay in

order to preserve the ability of the Solicitor General to determine whether to authorize appeal.

But this Court did not impose such a deadline, much less require disclosure within a matter of

days after the Court’s disposition of the government’s timely motion for reconsideration. CNN’s

position, if accepted, would require the government to routinely move for emergency stays in

FOIA cases whenever similar disclosure orders are issued, simply in order to preserve the

government’s ability to engage in the consultative and deliberative process necessary for the

Solicitor General to determine whether to authorize appeal. That outcome would be highly

burdensome for the government and for the courts, and should not be countenanced. CNN’s

motion to “enforce” the Court’s Order should be denied.

   II.      IN THE ALTERNATIVE, THE COURT SHOULD STAY ITS JUNE 7, 2019,
            ORDER PENDING THE GOVERNMENT’S DETERMINATION AS TO
            WHETHER TO APPEAL AND, IF APPEAL IS AUTHORIZED, PENDING
            APPEAL

         In the alternative, the FBI moves for a stay of the disclosure obligations set forth in the

Court’s June 7, 2019, Order, pending the government’s determination of whether to seek

appellate review and, should the Solicitor General authorize appeal, pending appeal.


                                                   3
          Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 4 of 8



       A party seeking a stay pending appeal must justify such a stay with reference to four

factors: “(1) whether the stay applicant has made a strong showing that he is likely to succeed on

the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether

issuance of the stay will substantially injure the other parties interested in the proceeding; and

(4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009); see also Cuomo v.

U.S. Nuclear Regulatory Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985). “[C]ourts often recast

the likelihood of success factor as requiring only that the movant demonstrate a serious legal

question on appeal where the balance of harms strongly favors a stay.” Al-Anazi v. Bush, 370 F.

Supp. 2d 188, 193 n.5 (D.D.C. 2005) (citations omitted).

       Here, the FBI meets all the requirements for a stay. First, the FBI will be irreparably

harmed absent a stay, for a simple, compelling reason: once the information contained in these

documents is released to CNN, it is effectively released for good. This is particularly true here,

as CNN routinely immediately tweets details of any release. See, e.g., https://twitter.com/CNN/

status/1125902774523371520 (May 7, 2019, release discussing proffer transcript provided to

CNN’s counsel that day). Disclosure would therefore moot the FBI’s claims that the information

should be withheld. A stay of any obligation to produce the material at issue is therefore

necessary to preserve the FBI’s right to meaningful appellate review on the merits of this case.

       For this reason, the Supreme Court has repeatedly granted stays of disclosure orders in

FOIA cases pending appeal. See Dep’t of Health & Human Servs. v. Alley, 556 U.S. 1149

(2009) (ordering stay of district court’s order that directed agency to disclose records to plaintiff

pending final disposition of appeal); U.S. Dep’t of Commerce v. Assembly of State of Cal., 501

U.S. 1272 (1991) (same); U.S. Dep’t of Justice v. Rosenfeld, 501 U.S. 1227 (1991) (same); John

Doe Agency v. John Doe Corp., 488 U.S. 1306, 1308-09 (1989) (Marshall, J., in chambers)
                                                  4
            Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 5 of 8



(issuing stay in FOIA action and observing that disclosure of documents would moot defendant’s

ability to appeal, thereby resulting in irreparable injury). Lower courts have done the same. See

Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979) (“Once the documents are

surrendered pursuant to the lower court’s order, confidentiality will be lost for all time. The

status quo could never be restored”); People for the Am. Way Found. v. U.S. Dep’t of Educ., 518

F. Supp. 2d 174, 177 (D.D.C. 2007) (stay necessary “to avoid irreparable injury to [the

government] by having to release documents prior to having the opportunity to seek meaningful

appellate review”); Ctr. for Int’l Envtl. Law v. Office of the U.S. Trade Representative, 240 F.

Supp. 2d 21, 22 (D.D.C. 2003) (concluding “defendants have made a strong showing of

irreparable harm because disclosure of the documents in question will render any appeal moot”);

Ctr. for Nat’l Sec. Studies, 217 F. Supp. 2d at 58 (“[S]tays are routinely granted in FOIA

cases.”).

       As to the public interest factor, to be sure, the Court has already recognized that “there is

enormous public interest in the Comey Memos and documents related to their disclosure.” Mem.

Op. at 32. However, given that the stay presently requested would be of relatively short

duration, the public interest argues more strongly in favor of a stay as the information at issue

includes classified information (the redactions in the Comey Memos), the release of which the

government believes could reasonably be expected to harm national security. A stay would

ensure that the government is given adequate opportunity to appeal if it judges those interests

sufficiently at stake here. The public would benefit from a short stay allowing the FBI this

opportunity.

       On the other hand, the effect upon CNN of a stay would be minimal because a stay would

merely postpone briefly the date of disclosure if the government ultimately decides not to appeal.
                                                 5
          Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 6 of 8



Moreover, the vast majority of the documents at issue (the Comey Memos and the First Archey

Declaration) have already been disclosed and only a very small amount of information is still at

issue. CNN cannot show that it would be significantly harmed by waiting for the limited amount

of remaining information. See John Doe Agency, 488 U.S. at 1309 (holding that requestor’s

“interest in receiving the [records] immediately, while significant if [their] interpretation of the

FOIA is correct, poses no threat of irreparable harm” to them); Judicial Watch, Inc. v. U.S. Dep’t

of Homeland Sec., 514 F. Supp. 2d 7, 8 (D.D.C. 2007) (rejecting the notion that mere delay in

disclosing documents would irreparably harm Judicial Watch’s ability to provide information to

the public, particularly where the media had already extensively covered the event). The balance

of harms therefore weighs in favor of a stay here. See John Doe Agency, 488 U.S. at 1308;

Providence Journal, 595 F.2d at 890 (“Weighing this latter hardship [of a stay upon plaintiff]

against the total and immediate divestiture of appellants’ rights to have effective review in this

court, we find the balance of hardship to favor the issuance of a stay.”).

       Where the movant has established substantial irreparable harm and the balance of harms

weighs heavily in its favor, as the FBI has done here, it need only raise “serious legal questions

going to the merits” to obtain a stay. Population Inst. v. McPherson, 797 F.2d 1062, 1078 (D.C.

Cir. 1986) (quoting Washington Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d

841, 844 (D.C. Cir. 1977)); see Providence Journal, 595 F.2d at 890 (where “the denial of a stay

will utterly destroy the status quo, irreparably harming appellants, but the granting of a stay will

cause relatively slight harm to appellee, appellants need not show an absolute probability of

success in order to be entitled to a stay”). Here, of course, while no appeal is yet pending, if the

Solicitor General ultimately authorizes an appeal, this case would likely present serious legal

questions. These questions include, among others, issues concerning the proper classification of
                                                  6
          Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 7 of 8



information and public access to in camera, ex parte declarations in FOIA suits, the latter a

significant issue of first impression.

       In sum, the government faces irreparable harm if it were denied the opportunity to appeal

the Court’s Order, there are national security issues potentially at stake from disclosure of the

some of the information at issue, any injury to CNN from a limited postponement of disclosure

would be relatively minor, and serious legal questions might be raised if appeal is authorized.

For these reasons, a stay should be granted pending the government’s determination as to

whether to appeal, if the Court would be otherwise inclined to set a deadline for production that

precedes the appeal deadline, and, if appeal is authorized, pending appeal.

                                          CONCLUSION

       For these reasons, the Court should deny CNN’s Motion to Enforce the Court’s Order of

June 7, 2019. In the alternative, it should stay the disclosure obligations of its June 7, 2019,

order pending the government’s determination as to whether to appeal and, if appeal is

authorized, pending appeal. Lastly, if the Court grants CNN’s motion and denies the FBI’s

motion, the FBI respectfully requests that the Court grant a 14-day administrative stay in order to

allow the FBI the opportunity to seek relief from the Court of Appeals.




                                                  7
        Case 1:17-cv-01167-JEB Document 97 Filed 08/26/19 Page 8 of 8



Dated: August 26, 2019                    Respectfully submitted,
                                          HASHIM M. MOOPPAN
                                          Deputy Assistant Attorney General

                                          MARCIA BERMAN
                                          Assistant Director, Civil Division

                                          /s/Carol Federighi
                                          CAROL FEDERIGHI
                                          Senior Trial Counsel
                                          United States Department of Justice
                                          Civil Division, Federal Programs Branch
                                          P.O. Box 883
                                          Washington, DC 20044
                                          Phone: (202) 514-1903
                                          Email: carol.federighi@usdoj.gov

                                          Counsel for Defendant




                                      8
